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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

RAFFI BARSOUMIAN, M.D.,

Plaintiff, AFFIDAVIT OF RAFFI
BARSOUMIAN, M.D. IN
SUPPORT OF MOTION FOR
FEES

~ VS. -

UNIVERSITY AT BUFFALO THE STATE
UNIVERSITY OF NEW YORK OF MEDICINE
AND BIOMEDICAL SCIENCES,
Civil No.: 06 CV-831(S)
UNIVERSITY MEDICAL RESIDENT
SERVICES, P.C.,

ROSEANNE BERGER, M.D.,
Individually and as Senior Associate
Dean of Graduate Medical Education,

JAMES HASSETT, M.D.,
Individually and as Program

Director of the Department of Surgery,
and

ROGER SEIBEL, M.D.,
Individually and as Professor of
Surgery in the Department of Surgery

Defendants.

 

RAFFI BARSOUMIAN, M._D., being duly sworn, hereby affirms and says that:

1, 1 am the Plaintiff in the above-referenced action.

2. During the litigation of this matter, and after the action was commenced on
November 16, 2006, I incurred various out of pocket litigation expenses. I directly paid a court

reporter $2,011.30. I also incurred out of pocket expenses when I directly paid for mediation
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services relative to this litigation which were rendered on October 7, 2009. Documentation
reflecting payment of said expenses directly is attached hereto as Exhibit “A”. Though the
invoices of Wendy Royce McCann, Court Reporter, are addressed to my attorney, my attorney
gave these bills to me to pay directly and I did pay Ms. McCann directly. With regard to the

mediation expenses, I paid $1,545.39 for same on December 21, 2009 via credit card.

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RAFF RARSOUMIAN

 

Sworn to before me
7" day of August, 2013

Notary Public

Public. State of

Notary PHONG, .
Erle County [: bow

Qualified in Erk [13 ob

My Commission
